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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                                 (AT LOUISVILLE)
                                       3:16-CV-105-TBR
TERRY K. BURNETT                                                               PLAINTIFFS
7412 Preston Highway
Louisville, Kentucky 40219


v.




EQUIFAX INFORMATION SERVICES, LLC                                           DEFENDANTS
1550 Peachtree Street, N.W.
Atlanta, Georgia 30309

       SERVE:         CSC-Lawyers Incorporating Service Co.
                      421 W. Main St.
                      Frankfort, KY 40601
                      (BY CERTIFIED MAIL)


AND


EXPERIAN INFORMATION SOLUTIONS, INC.
475 Anton Boulevard
Costa Mesa, California 92626

       SERVE:         CT Corporation System
                      306 W. Main St., Ste. 512
                      Frankfort, KY 40601
                      (BY CERTIFIED MAIL)


                                          ** ** ** **

                                  VERIFIED COMPLAINT

       Comes the Plaintiff, Terry K. Burnett, and for his Verified Complaint against the

Defendants, Equifax Information Services, LLC (“Equifax”) and Experian Information Solutions,

LLC (“Experian”), states as follows:
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                               I. PRELIMINARY STATEMENT

       1.     This is an action for negligence, defamation, and violations of the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. §1681 et seq., arising out the Defendants’ false reporting of

and Defendant’s failure to investigate Plaintiffs’ disputes regarding alleged state tax liens.

                                           II. PARTIES

       2.     Plaintiff, Terry K. Burnett, is currently and was at all relevant times a citizen of the

Commonwealth of Kentucky residing at 7412 Preston Highway, Louisville, Kentucky 40219.

       3.     Plaintiff is a “consumer” as that term is defined by the FCRA, 15 U.S.C. §1681a(c).

       4.     Defendant, Equifax, is a is a corporation organized under the laws of the State of

Georgia with its principal place of business located at 1550 Peachtree Street N.W., Atlanta,

Georgia 30309.

       5.     Equifax is a consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as that term is defined by the FCRA, 15 U.S.C. §1681a(o).

       6.     Equifax is regularly engaged in the business of assembling, evaluating and

dispensing information concerning consumers for the purpose of furnishing “consumer reports,”

as that term is defined at 15 U.S.C. §1681a(d), to third parties.

       7.     Defendant, Experian, is a corporation organized under the laws of the State of

California and doing business in the Commonwealth of Kentucky with its principal place of

business located at 475 Anton Boulevard, Costa Mesa, California 92626.

       8.     Experian is a “consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as that term is defined by the FCRA, 15 U.S.C. §1681a(o).

       9.     Experian is regularly engaged in the business of assembling, evaluating and

dispensing information concerning consumers for the purpose of furnishing “consumer reports,”




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as that term is defined at 15 U.S.C. §1681a(d), to third parties.

                                      III. JURISDICTION

         10.   This Court has jurisdiction over this action: (1) pursuant to the FCRA, 15 U.S.C.

§1681(p); (2) pursuant to 28 U.S.C. §1331; and (3) because the transactions and occurrences giving

rise to this action occurred in Jefferson County, Kentucky as a result of the Defendants doing

business in Jefferson County, Kentucky.

                                IV. FACTUAL BACKGROUND

         11.   Prior to 2008, the Commonwealth of Kentucky filed two tax liens against Plaintiff,

one in the amount of $4,068.000 and the other in the amount of $2,354.00.

         12.   Plaintiff paid both tax liens in 2007 and 2008 and the Commonwealth of Kentucky

contemporaneously filed Certificates of Release of Tax Lien reflecting Plaintiff’s payment of the

liens.

         13.   In April 2015, Plaintiff, who was in the process of attempting to secure mortgage

financing, accessed his Equifax, Experian and Trans Union credit reports all of which were

reporting the Kentucky tax liens as outstanding, unpaid and “not released.”

         14.   Immediately upon discovering the credit bureaus’ false reporting, Plaintiff filed

disputes with Equifax, Experian and Trans Union.

         15.   In or around May 2015, Trans Union notified Plaintiff that it would change its

reporting to reflect the release of the Kentucky tax liens.

         16.   Despite the fact that Plaintiff’s Equifax credit report clearly showed both tax liens

as “not released,” Equifax responded to Plaintiff’s dispute by advising Plaintiff that the tax liens

were “currently not reporting” on his Equifax credit report and thus refused to delete or amend its

reporting of the tax liens.




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        17.    Experian refused to delete or amend its reporting of the tax liens and verified the

accuracy of the reporting of the tax liens on Plaintiff’s Experian credit report.

        18.    Equifax’s and Experian’s false reporting and their failure to investigate Plaintiff’s

disputes have damaged Plaintiff in that Plaintiff has been denied credit and/or has been forced to

pay a high rate of interest for credit due to the Equifax’s and Experian’s failure to properly

investigate Plaintiffs’ disputes and to delete or amend their reporting of the subject tax liens.

                                              V. CLAIMS

                                           Negligence – Equifax

        19.    Plaintiff hereby adopts and incorporates the allegations contained in paragraphs 1

through 18 as if fully set forth herein.

        20.    Equifax’s failure to properly investigate Plaintiff’s dispute and its consequent failure

to delete or amend its reporting of the tax liens, despite Plaintiff’s lawful notice to Equifax

disputing Equifax’s reporting of the tax liens, was negligent. In failing to properly investigate

Plaintiff’s dispute of the reporting of the tax liens, Equifax breached its duty to Plaintiff to

thoroughly investigate any and all credit reporting disputes and acted with conscious disregard for

the rights of the Plaintiff.

        21.    Equifax’s negligent failure to properly investigate Plaintiff’s dispute of the reporting

of the tax liens and its consequent failure to delete or amend its reporting of the tax liens has

caused, and continues to cause damages to Plaintiff, including, but not limited to, humiliation and

embarrassment, a substantial decline in Plaintiff’s credit rating, and other compensatory and

consequential damages.

        22.    Equifax’s failure to properly investigate Plaintiff’s dispute of Equifax’s reporting of

the tax liens and its consequent failure to delete or amend its reporting of the tax liens, despite




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Plaintiff’s lawful dispute to Equifax, was willful and wanton, entitling Plaintiff to punitive

damages therefor.

                                       Negligence – Experian

        23.    Plaintiff hereby adopts and incorporates the allegations contained in paragraphs 1

through 22 as if fully set forth herein.

        24.    Experian’s failure to properly investigate Plaintiff’s dispute and its consequent

failure to delete or amend its reporting of the tax liens, despite Plaintiff’s lawful notice to Experian

disputing Experian’s reporting of the tax liens, was negligent. In failing to properly investigate

Plaintiff’s dispute of the reporting of the tax liens, Experian breached its duty to Plaintiff to

thoroughly investigate any and all credit reporting disputes and acted with conscious disregard for

the rights of the Plaintiff.

        25.    Experian’s negligent failure to properly investigate Plaintiff’s dispute of the

reporting of the tax liens and its consequent failure to delete or amend its reporting of the tax liens

has caused, and continues to cause damages to Plaintiff, including, but not limited to, humiliation

and embarrassment, a substantial decline in Plaintiff’s credit rating, and other compensatory and

consequential damages.

        26.    Experian’s failure to properly investigate Plaintiff’s dispute of Experian’s reporting

of the tax liens and its consequent failure to delete or amend its reporting of the tax liens, despite

Plaintiff’s lawful dispute to Experian, was willful and wanton, entitling Plaintiff to punitive

damages therefor.

                                       Defamation – Equifax

        27.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 26 as if fully set forth herein.




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        28.    Equifax, with knowledge of the falsity of its statements, has published and continues

to publish false statements to individuals and/or entities who have accessed Plaintiff’s Equifax

credit report that the subject tax liens are outstanding, unpaid, and not released. In publishing such

statements, Equifax acted with conscious disregard for the rights of the Plaintiff.

        29.    Equifax’s publication of false statements regarding Plaintiff’s creditworthiness and

Plaintiff’s alleged delinquent debt amounts to defamation and defamation per se of the Plaintiff,

entitling Plaintiff to compensatory, special, consequential and punitive damages therefor.

                                      Defamation – Experian

        30.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 29 as if fully set forth herein.

        31.    Experian, with knowledge of the falsity of its statements, has published and

continues to publish false statements to individuals and/or entities who have accessed Plaintiff’s

Experian credit report that the subject tax liens are outstanding, unpaid, and not released. In

publishing such statements, Experian acted with conscious disregard for the rights of the Plaintiff.

        32.    Experian’s publication of false statements regarding Plaintiff’s creditworthiness and

Plaintiff’s alleged delinquent debt amounts to defamation and defamation per se of the Plaintiff,

entitling Plaintiff to compensatory, special, consequential and punitive damages therefor.

                Negligent Violation of the Fair Credit Reporting Act – Equifax

        33.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 32 as if fully set forth herein.

        34.    Equifax’s failure to properly investigate the disputed item and its consequent failure

to delete or amend its reporting of the disputed item is a violation of Equifax’s duty to ensure

maximum possible accuracy of consumer reports under 15 U.S.C. §1681e(b) and Equifax’s duties

regarding investigation of disputed items under 15 U.S.C. §1681i.


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        35.    Equifax’s failure to properly investigate the disputed item and its consequent failure

to delete or amend its reporting of the disputed item within a reasonable time following Equifax’s

receipt of Plaintiff’s dispute is a violation of Equifax’s duties regarding investigation of disputed

items under 15 U.S.C. §1681i. Equifax’s violations of the FCRA amount to negligent non-

compliance with the FCRA as stated in 15 U.S.C. §1681o, for which Equifax is liable to Plaintiff

for Plaintiff’s actual damages, for statutory damages, and for Plaintiff’s attorney’s fees.

               Negligent Violation of the Fair Credit Reporting Act – Experian

        36.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 35 as if fully set forth herein.

        37.    Experian’s failure to properly investigate the disputed item and its consequent

failure to delete or amend its reporting of the disputed item is a violation of Experian’s duty to

ensure maximum possible accuracy of consumer reports under 15 U.S.C. §1681e(b) and

Experian’s duties regarding investigation of disputed items under 15 U.S.C. §1681i.

        38.    Experian’s failure to properly investigate the disputed item and its consequent

failure to delete or amend its reporting of the disputed item within a reasonable time following

Experian’s receipt of Plaintiff’s dispute is a violation of Experian’s duties regarding investigation

of disputed items under 15 U.S.C. §1681i. Experian’s violations of the FCRA amount to negligent

non-compliance with the FCRA as stated in 15 U.S.C. §1681o, for which Experian is liable to

Plaintiff for Plaintiff’s actual damages, for statutory damages, and for Plaintiff’s attorney’s fees.

                 Willful Violation of the Fair Credit Reporting Act – Equifax

        39.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 38 as if fully set forth herein.

        40.    Equifax’s failure to properly investigate the disputed item and its consequent failure

to delete or amend its reporting of the disputed item is a willful violation of Equifax’s duty to


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ensure maximum possible accuracy of consumer reports as stated in 15 U.S.C. §1681e(b) and

Equifax’s duties regarding investigation of disputed items under 15 U.S.C. §1681i.

        41.    Equifax’s failure to properly investigate the disputed item and its consequent failure

to delete or amend its reporting of the disputed item within a reasonable time following Equifax’s

receipt of Plaintiff’s dispute is a willful violation of Equifax’s duties regarding investigation of

disputed items as stated in 15 U.S.C. §1681i.

        42.    Equifax’s violations of the FCRA amount to willful non-compliance with the FCRA

as stated in 15 U.S.C. §1681n for which Equifax is liable to Plaintiff for Plaintiff’s actual damages,

for statutory damages, for punitive damages and for Plaintiff’s attorney’s fees.

                 Willful Violation of the Fair Credit Reporting Act – Experian

        43.    Plaintiff hereby adopts and incorporates the allegations contained in Paragraphs 1

through 42 as if fully set forth herein.

        44.    Experian’s failure to properly investigate the disputed item and its consequent

failure to delete or amend its reporting of the disputed item is a willful violation of Experian’s duty

to ensure maximum possible accuracy of consumer reports as stated in 15 U.S.C. §1681e(b) and

Experian’s duties regarding investigation of disputed items under 15 U.S.C. §1681i.

        45.    Experian’s failure to properly investigate the disputed item and its consequent

failure to delete or amend its reporting of the disputed item within a reasonable time following

Experian’s receipt of Plaintiff’s dispute is a willful violation of Experian’s duties regarding

investigation of disputed items as stated in 15 U.S.C. §1681i.

        46.    Experian’s violations of the FCRA amount to willful non-compliance with the

FCRA as stated in 15 U.S.C. §1681n for which Experian is liable to Plaintiff for Plaintiff’s actual

damages, for statutory damages, for punitive damages and for Plaintiff’s attorney’s fees.




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      WHEREFORE, Plaintiff, Terry K. Burnett, respectfully demands the following:

      1.     Trial by jury on all issues so triable;

      2.     Judgment against the Defendants for statutory, compensatory, consequential and

punitive damages;

      3.     For attorneys’ fees and costs; and,

      4.     Any and all other relief to which Plaintiff may appear to be entitled.

                                             Respectfully submitted,

                                             /David W. Hemminger
                                             David W. Hemminger
                                             HEMMINGER LAW OFFICE, PSC
                                             616 South Fifth St.
                                             Louisville, KY 40202
                                             (502) 443-1060
                                             hemmingerlawoffice@gmail.com
                                             Counsel for Plaintiff




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                                          VERIFICATION

          I, Terry K. Burnett, hereby state that I have read the foregoing Verified Complaint and the

statements contained therein are true and accurate to the best of my knowledge, information and

belief.

                                               _______________________________________
                                               Terry K. Burnett




COMMONWEALTH OF KENTUCKY                                       )
                                                               ) SS
COUNTY OF JEFFERSON                                            )


          Subscribed, sworn to and acknowledged before me by Terry K. Burnett this ___ day of

_______________, 2015.


                                               Notary Public

                                               Commission expires:




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